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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                           IN THE UNITED STATES DISTRICT COURT                               March 29, 2017
                           FOR THE SOUTHERN DISTRICT OF TEXAS                              David J. Bradley, Clerk

                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §            CRIMINAL NO. H-16-099
                                                   §
CEDRIC L. ANDREWS                                  §


                            ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence or clear
and convincing evidence and require the detention of the above-named defendant pending trial in
this case.

                                           Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)     The defendant has been convicted of a (federal offense) (state or local offense that
                 would have been a federal offense if a circumstance giving rise to federal jurisdiction
                 had existed) that is

                      []     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                      []     an offense for which the maximum sentence is life imprisonment or
                             death.

                      []     an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                      []     a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

          [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                  pending trial for a federal, state or local offense.

          [ ] (3) A period of not more than five years has elapsed since the (date of conviction)
                  (release of the defendant from imprisonment) for the offense described in finding 1.
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       [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
               combination of conditions will reasonably assure the safety of any other person and
               the community. I further find that the defendant has not rebutted this presumption.

[X]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [X] (1)       There is probable cause to believe that the defendant has committed an offense

                     []     for which a maximum term of imprisonment of ten years or more is
                            prescribed in 21 U.S.C.
                            ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     [X]    under 18 U.S.C. § 924(c).

       [X] (2)       The defendant has not rebutted the presumption established by finding 1 that no
                     condition or combination of conditions will reasonably assure the appearance of
                     the defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1) Defendant is accused of conspiracy to interfere with commerce by robbery and aiding
               and abetting interference with commerce by robbery in violation of 18 U.S.C. § 1951
               and aiding and abetting use of a firearm in furtherance of a crime of violence in
               violation of 18 U.S.C. § 924(c).

       [X] (2) There is a serious risk that the defendant will flee.

       [X] (3) Defendant represents a danger to the community.

       [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
               (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1) As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
              § 3142(c) which will reasonably assure the appearance of the defendant as required.

       [X] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the safety of any other person or the
               community.

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                           Written Statement of Reasons for Detention

        I find that the accusations in the indictment, information submitted in the Pretrial Services
Agency report, and information at the detention hearing establish by a preponderance of the evidence
that no condition or combination of conditions will reasonably assure the appearance of the
defendant as required and by clear and convincing evidence that no conditions will assure the safety
of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant is a 42-year old United States citizen who has lived in Texas his whole
               life. His mother lives in Houston and his father lives in Fort Worth. He has one sister
               and a nephew. He has a 5 year old son with his long-time girlfriend and two other
               children from prior relationships.

       2.      Defendant is currently in Harris County jail. He worked prior to incarceration as a
               truck driver.

       3.      Defendant is accused of conspiracy and aiding and abetting interference with
               commerce by robbery in violation of 18 U.S.C. § 1951 and aiding and abetting use
               of a firearm in furtherance of a crime of violence in violation of 18 U.S.C. § 924(c).
               He faces a potential penalty of up to 20 years in prison.

       4.      Defendant's lengthy criminal history includes convictions for robbery, public
               lewdness, possession of marijuana, theft, evading arrest, manufacture and delivery
               of a controlled substance, and criminal mischief. He has previously been charged
               with sexual assault of a child. He faces pending state charges of aggravated robbery
               that appear related to the instant charge. He previously failed to comply with terms
               of probation.

       5.      Defendant was implicated by co-defendants in the armed robbery of a Wing Stop
               restaurant.

       6.      The court finds there is no condition or combination of conditions of release which
               would assure the appearance of the defendant in court or the safety of the
               community. Detention is ordered.

                                 Directions Regarding Detention

       It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with

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defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.

       Signed at Houston, Texas, on March 24, 2017.




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